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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


GARY W. BROOKS,                      )
                                     )
        Plaintiff,                   )
                                     )
                      V.             )
                                     )                Cause No. 1:18-cv-613
CITY OF CARMEL, Acting by and Through)
its Legal Department, and DOUGLAS C. )
HANEY,                               )
                                     )
        Defendants.                  )




                                       COMPLAINT

       Plaintiff Gary W. Brooks respectfully makes his Complaint for Damages and Permanent

Injunction, and avers as follows:


                                         Nature of Case

1.         This lawsuit seeks redress from municipal officials who discriminated against

           Plaintiff on the basis of his disability and subjected him to excessive force.



                                           Jurisdiction

2.     Plaintiff brings this action pursuant to the Americans with Disabilities Act and 42 U.S.C.

       § 1983 to redress Defendants’ violations of his rights under the First and Fourth

       Amendment of the U.S. Constitution. This Court has original subject matter jurisdiction

       of the federal questions presented pursuant to 28 U.S.C. § 1333 and § 1343.
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3.    Venue is proper in the Indianapolis Division because the Defendants reside in this

      division and the events complained of occurred in this division.

4.    This Court has supplemental jurisdiction to hear the pendant Indiana law claims pursuant

      to 28 U.S.C. § 1367 because they arise out of the same incident as the federal claims.

5.    Plaintiff timely served a Tort Claim Notice on Defendants on November 15, 2017.




                                            Parties

6.    Gary W. Brooks is an adult U.S. citizen who resides in Hamilton County, Indiana.

7.    The City of Carmel is a government unit located in Hamilton County, Indiana.

8.    Douglas C. Haney is an adult U.S. citizen who resides in Hamilton County, Indiana.



                                     Factual Allegations

9.    Gary W. Brooks (“Brooks”) suffered a brain aneurism in 1995 that required major

      surgery.

10.   Brooks recovered from the aneurism but suffered severe memory loss and to this day has

      trouble forming new memories.

11.   To cope with this memory dysfunction, Brooks makes audiovisual recordings of his

      important daily activities, including any interaction he has with government officials.

12.   As a resident of Carmel, Indiana he periodically needs to conduct business in a Carmel

      city office and when he does so he carries video recorder strapped to his chest and plainly

      visible that makes audio as well as visual recordings.




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13.   Since at least 2012, however, any time Brooks has visited a Carmel City office, City

      officials have told him that he is forbidden to make recordings even in areas of the office

      that are open to the public.

14.   When Brooks visits a Carmel City office he is told that he must either cease recording or

      leave the office, and that if he does not comply the police will forcibly remove him.

15.   Brooks visited the Carmel’s Zoning Department on March 4, 2016 regarding property he

      owns in Carmel.

16.   When he approached the front desk he was told that he must cease recording or leave, but

      Brooks refused to do so.

17.   As Brooks was attempting to conduct his business in the Zoning Department, Carmel

      City Attorney Douglas C. Haney (“Haney”) appeared and confronted Brooks.

18.   Haney told Brooks that he could either conduct his business via written correspondence

      or come in person but cease recording, and that if he continued recording he would have

      to leave the building.

19.   When Brooks refused to comply with Haney’s order to leave, Haney placed his stomach

      on Brooks’ chest and pushed him backwards until Brooks was ejected from the office.

20.   Brooks visited the Carmel Legal Department on May 18, 2017 to drop off a request form

      to obtain an accident report.

21.   When receptionist told Brooks that he must either cease recording or leave, Brooks

      explained that what he needed to do would only take seconds and then he would leave,

      but the receptionist refused to serve Brooks.

22.   As Brooks was conversing with the receptionist Haney emerged from the inner office and

      confronted Brooks.




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23.   Haney ordered Brooks to either cease recording or leave the office.

24.   When Brooks refused to leave, Haney shoved Brooks against a wall, spraining his wrist.

25.   Carmel officials have continued to refuse to serve Brooks while he wears the recording

      device.

26.   The City of Carmel maintains a custom, policy, or practice of refusing to permit persons

      to record themselves in the public areas of City offices.

27.   At all relevant times Haney acted in the scope of his employment by the City of Carmel

      and under color of Indiana law.

28.   Brooks has been damaged by his inability to record his activities, which recordings

      function as his memory of his daily business, and by pain and weakness in his wrist.



                                         Legal Claims

29.   The City’s refusal to allow Brooks to record himself in public despite his known

      disability violates Title II of the Americans with Disabilities Act.

30.   The City and Haney’s refusal to allow Brooks to record himself in public violates his

      right of free expression under the First Amendment.

31.   Haney’s attempts to remove Brooks from City offices by physical force constitute

      excessive force in violation of the Fourth Amendment.

32.   Haney conspired with the City and other officials to deprive Brooks of his civil rights in

      violation of 42 U.S.C. § 1985.

33.   Haney’s actions constitute battery and intentional infliction of emotional distress under

      Indiana law.




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                                               Relief

34.    Plaintiff seeks all relief allowable by law, including, compensatory and punitive damages,

       costs, and attorney’s fees.

35.    The Court should issue a permanent injunction forbidding the Defendants from

       interfering with his right to record himself in the publicly accessible parts of City offices.




       WHEREFORE, Plaintiff prays that the Court will enter judgment in his favor and

against Defendants, and grant him all just and proper relief.




                                              Respectfully submitted,



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